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              Summary of Compiled
                 Information
                           Incident on
             Monday, March 4, 2024
                                            - Stalking
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several tickets and they were all dismissed. I than at 1:02 contacted Director Vanderplow
as he does our internal investigations about this, due to the fact I know ticket dismissing is
illegal and I let Director Vanderplow know what Director Dishroon had uncovered and let
him know that the city was still dealing with the same issues with business. Please view my
call log as I called Director Vanderplow at 1:02pm, 2 minutes after reviewing the email in
attached. Director Vanderplow let me know he would look into this further and thanked me
for my assistance.

If I can further assistance in anyway with this matter, please let me know. Thank you.




Ash Othman, Confidential Secretary




                                                                                                 2 of 2
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 From: Mayor's Office
 Sent: Monday, March 4, 2024 11:45 AM
 To: Eric B. Watland                                ; William E. Dishroon

 Subject: 26509 Ford RD

 Good afternoon,

 This address has received no violations for having a truck parked and blocking the alley
 way for over 6 months. We have had residents' complaint that it's an eyesore and nothing
 was done but now leases are complaining that they were told the city of Dearborn Heights
 approved of it and why was it approved for only this business and that other leases cannot
 enter the alley way on the left side due to this issue. At your earliest convivence the mayor
 would like an update on this. Thank you in advance and have a great day.



 Ash Othman, Confidential Secretary
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                  POLICE                                            Jerrod Hart
                                                                   Chief of Police

                  DEPARTMENT                                          Bill Bazzi
                                                                       Mayor




 To:        Director Paul Vanderplow

 From:      Kevin Swope
            Acting Chief of Police

 Date:      April 3, 2024

 Re:        Administrative Leave




   On 4/2/2024 the Dearborn Heights Police Department received a complaint from a
citizen which alleged that you were involved in criminal misconduct. Due to this
complaint, you are being placed on paid administrative leave while internal and criminal
investigations are completed. You are to make yourself available for all department
related interviews.




 Kevin Swope




            Dearborn Heights Police Department 25637 Michigan Ave. Dearborn Heights, Michigan 48125
                                  Phone (313) 277-6770 Fax (313)-277-5146
                                      Email dhpd@ci.dearborn-heights.mi.us
